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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


THE STATE OF GEORGIA,
                                                        CIVIL ACTION FILE
v.
                                                       No. 1:23-CV-03621-SCJ
MARK R. MEADOWS,
                                                  RE: NOTICE OF REMOVAL OF
                                                  FULTON COUNTY SUPERIOR
     Defendant.                                    COURT INDICTMENT NO.
                                                          23SC188947


                                           ORDER

       This matter appears before the Court on Defendant Mark Meadows’s

Emergency Motion for Immediate Removal or to Prohibit his Arrest. 1 Doc. No.

[17]. Having reviewed the Motion and the Fulton County District Attorney’s

Office’s response in opposition (Doc. No. [23]), the Court DENIES Meadows’s

Motion.




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
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      Meadows seeks to stay his upcoming arrest on Friday, August 25, 2023. 2

Doc. No. [17], 1. Meadows argues that his federal officer status and federal

immunity defense protect him from being arrested and being brought to trial in

state court. Id. at 2–3. He further specifies that issuing a stay of the Fulton County

proceedings, including his upcoming arrest, is consistent with and facilitates the

purposes of these federal officer protections. Id. Meadows urges the Court to

bypass the evidentiary hearing on his removal and assume federal jurisdiction

over the case (with the understanding that the Court then can reconsider such

decision after the hearing previously scheduled occurs). Id. at 5–6. Alternatively,

Meadows requests the Court to enter an injunction against District Attorney Fani

Willis enjoining her from executing Meadows’s arrest until after the August 28

hearing. Id. at 9–13.

      As the Court indicated in its summary remand order, “the filing of a notice

of removal of a criminal prosecution under Section 1455 ‘shall not prevent the

State court in which such prosecution is pending from proceeding further[.]’”




2  The Court incorporates its previous discussion of the factual and procedural
background from its order denying summary remand and requiring the Parties to
appear at an evidentiary hearing on August 28, 2023. See Doc. No. [6].
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Doc. No. [6], 6 (quoting 28 U.S.C. § 1455(b)(3)). Meadows cites two cases in

support of his argument that the Court can bypass the evidentiary hearing

anticipated in Section 1455(b)(5). Doc. No. [17], 5 (citing New York v. Tanella,

239 F. Supp. 2d 291, 295 (E.D.N.Y. 2003) and City of Jackson v. Jackson,

235 F. Supp. 2d 532, 534 & n.2 (S.D. Miss. 2002)). The Court finds neither citation

to be persuasive. 3

        In Tanella, the parties consented to the facts alleged in the removal and

agreed an evidentiary hearing was not necessary. 239 F. Supp. 2d at 295 (“[B]oth

the State and defendant agree that no evidentiary hearing is necessary because

there is no disagreement about the facts relevant to the court’s determination of

the removal issue.”). In this case, however, there is no similar agreement and

neither Party has indicated that an evidentiary hearing is unneeded. Doc. No.

[23].




3 While the District Attorney’s Office correctly indicates that these cases occurred prior
to the enactment of 28 U.S.C. § 1455 (Doc. No. [23], 4), the Court understands that the
removal provisions for criminal proceedings were previously found in 28 U.S.C. § 1446.
The removal statutes were amended in 2011 to create separate statutory provisions for
criminal and civil removal actions, but the relevant substance of the criminal removal
provision was not altered in this amendment process. See 28 U.S.C. § 1446(c)(1) (2011)
(specifying the same procedures for removal of criminal prosecutions as Section
1455(b)).
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      Likewise, Jackson does not convince the Court of Meadows’s argument

because in that case, the district court did not mention the criminal removal

procedures, let alone an evidentiary hearing. Such omission was appropriate

however because federal removal had already been ordered and the court was

merely determining if the federal immunity defense would result in a dismissal

of the criminal case. See 235 F. Supp. 2d at 534. Here, conversely, the Court has

not yet made its determination on removal and thus Jackson’s persuasiveness is

limited.

      Section 1455’s statutory language makes clear that an evidentiary hearing

is to be conducted once a summary remand order has been entered. 28 U.S.C.

§ 1455(b)(5). As Meadows’s arguments and cases cited to the contrary are not

persuasive, the Court denies Meadows’s request for the Court to decide its

jurisdiction over his criminal case before holding an evidentiary hearing.

      Meadows alternatively requests that the Court enjoin District Attorney

Fani Willis from enforcing the arrest warrant against him until after the

August 28 evidentiary hearing. Doc. No. [17], 9–16. The Court denies this request.

While Meadows’s imminent arrest may present an actual injury, there are strong

countervailing reasons to not enjoin the state criminal proceedings (e.g.,


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abstention doctrines and principles of federalism). Section 1455 reinforces this

conclusion by clearly requiring state criminal proceedings continue until the

federal court has assumed jurisdiction and notified the state court. 28 U.S.C.

§ 1455(b)(3), (5). Indeed, in another case involving the removal of a criminal

prosecution, a criminal defendant proceeded to trial even after a notice of

removal had been filed pursuant to Section 1455. 4 Simmons v. City of Warren,

No. CV 19-11531, 2020 WL 520956, at *1 n.2 (E.D. Mich. Jan. 6, 2020), report and

recommendation adopted, No. 19-11531, 2020 WL 515866 (E.D. Mich. Jan. 31,

2020). Thus, the Court determines that, the clear statutory language for removing

a criminal prosecution, does not support an injunction or temporary stay

prohibiting District Attorney Willis’s enforcement or execution of the arrest

warrant against Meadows.




4 While the Court understands Meadows’s argument that the federal immunity defense

includes an immunity against arrest, the statutory language of Section 1455(b)(3) is clear
that the state court proceedings continue until the Court has assumed jurisdiction over
the case—a determination that, in fact, requires assessing whether Meadows asserts a
colorable federal defense. The Court has made no determinations at this time about the
viability of Meadows’s defense, and leaves such findings for after the evidentiary
hearing.
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